                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:98 CR 311

UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )          ORDER
                                          )
TIMOTHY A. LATTIMORE          (4)         )
__________________________________________)


      THIS MATTER IS BEFORE THE COURT upon defendant Timothy A. Lattimore’s
Motion to Terminate Supervised Release [doc. #146] filed April 23, 2007.

        IT IS ORDERED that the Motion to Terminate Supervised Release is hereby GRANTED
effective the date of the signing of this Order.

      SO ORDERED.
                                           Signed: May 23, 2007




      Case 3:98-cr-00311-GCM      Document 147      Filed 05/23/07   Page 1 of 1
